Case 4:04-cr-40039-JPG         Document 708 Filed 03/28/08           Page 1 of 1     Page ID
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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

               Plaintiff,

        v.                                             Case No. 04-cr-40039-JPG

 KEVIN W. PAGE,

               Defendant.

                              MEMORANDUM AND ORDER

       This matter comes before the Court on Defendant Kevin W. Page’s pro se Motion to

Appoint Counsel (Doc. 707). The Court no longer has jurisdiction over this case, and so must

DISMISS this Motion.




IT IS SO ORDERED.
DATED: March 28, 2008
                                           s/ J. Phil Gilbert
                                           J. PHIL GILBERT
                                           DISTRICT JUDGE
